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                             6,521,223 B1 Patent, Calias
                           Art Describes Crosslinks as Covalent Bonds




Source: ‘223, 2:26-30                                                                            31
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        Second Disputed Term: “Crosslinked”


• Covalently modified
• Water-insoluble
• Degree of crosslinking




                                                                                     32
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                 8,124,120 Patent, Sadozai
                   Crosslinked HA is Water Insoluble




                                                                                   33
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                                 6,521,223 Patent, Calias
                                  Crosslinked HA is Water Insoluble




Source: ‘223 patent, 4:45-60                                                                      34
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                                  WO 96/33751, Debacker
                                   Crosslinked HA is Water Insoluble




Source: WO1996033751 A1, 3:14-21 (Translated from French)                                       35
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                                   WO 96/33751, Debacker
                                    Crosslinked HA is Water Insoluble




Source: WO1996033751 A1, 8:1-9 (Translated from French)                                          36
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                                2006/0194758, Lebreton
                                 Crosslinked HA is Water Insoluble




Source: 2006/0194758, [0011]                                                                     37
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        Second Disputed Term: “Crosslinked”


• Covalently modified
• Water-insoluble
• Degree of crosslinking




                                                                                     38
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   Law on Use of Specification in Claim Construction


“[C]laims “must be read in                           "[T]he specification 'is always highly
                                                     relevant to the claim construction
view of the specification, of                        analysis. Usually, it is dispositive; it is
which they are a part.’”                             the single best guide to the meaning of
                                                     a disputed term.'"
 Phillips, 415 F.3d at 1315 (quoting Markman           Phillips, 415 F.3d at 1315 (quoting Vitronics
  v. Westview Instruments, Inc., 52 F.3d 967,           Corp. v. Conceptronic, Inc., 90 F.3d 1576,
               979 (Fed. Cir. 1995) (en banc))                                1582 (Fed. Cir. 1996))




“The context in which a term is used in the asserted claim can be highly instructive,"
and "[often] provides a firm basis for construing the term."
                                                                         Phillips, 415 F.3d at 1314.



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